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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EVA WANNAMAKER, :
Plaintiff : CIVIL ACTION
v.
EXPERIAN INFORMATION :
SOLUTIONS, INC,, ef al, : No. 21-350
Defendants

ORDER

AND NOW, this A ( “day of November, 2021, upon review of the docket, it is
ORDERED that the Parties must provide the Court with a status update on or before November
16, 2021.

It is FURTHER ORDERED that local counsel will attend a status conference in chambers
on November 23, 2021 at 2:00 p.m. for discussion of any outstanding matters, including
necessary modifications to the proposed protective order. Non-local counsel may attend via
teleconference. Non-local counsel wishing to join via teleconference are instructed to telephone

888-684-8852, then enter 3051753# to be connected with the Judge

BY THE COURT:

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ENE RK. PRATTER
UNITED | TATES DISTRICT JUDGE

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